              CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 1 of 18




 1                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MINNESOTA
 2
         KELLY SCHULTZ, individually and on                   Case No.
 3       behalf of all others similarly situated,
                                                            CLASS ACTION COMPLAINT
 4                       Plaintiff,
 5                                                          DEMAND FOR JURY TRIAL
         v.
 6
         NATIONS INFO CORP, a California
 7       corporation
 8                      Defendant.
 9
10
                                       CLASS ACTION COMPLAINT
11
               Plaintiff Kelly Schultz (“Schultz” or “Plaintiff”) brings this Class Action Complaint and
12
     Demand for Jury Trial against Defendant Nations Info Corp. (“Nations Info” or “Defendant”) to
13
     stop Nations Info from violating the Telephone Consumer Protection Act, 47 U.S.C. § 227 et
14
     seq. (“TCPA”). Nations Info has sent unsolicited, autodialed text messages to consumers,
15
     including to consumers like Plaintiff Schultz who have registered their phone numbers on the
16
     national Do Not Call registry (“DNC”). Plaintiff, on behalf of herself and all others, seeks
17
     injunctive and monetary relief for all persons similarly injured by Nations Info’s conduct.
18
     Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to herself and her
19
     own acts and experiences, and, as to all other matters, upon information and belief, including
20
     investigation conducted by her attorneys.
21
                                              INTRODUCTION
22
               1.     Nations Info is a provider of real estate and financial information services to
23
     consumers.1
24
25

26   1
      https://www.glassdoor.com/Job/westlake-village-devops-engineer-jobs-
     SRCH_IL.0,16_IC1146990_KO17,32.htm?rdserp=true&jl=3224500168&guid=0000016a92840bcca4578
27   957783a08f7&pos=108&src=GD_JOB_AD&srs=EI_JOBS&s=21&ao=8118
28
             CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 2 of 18




 1             2.     Nations Info operates RentBeforeOwning, a paid-membership platform that
 2 connects consumers with rent-to-own properties together with access to property financing:

 3
 4
 5
 6
 7                                                                                    2

 8
 9             3.     In an effort to market and expand its RentBeforeOwning platform, Nations Info

10 engages in a number of marketing initiatives including, and as relevant to this case, the use of
11 affiliates and text message telemarketing.
12             4.     Nations Info, either directly or through its affiliates, sends text message

13 solicitations without first obtaining any consent from the consumer, let alone prior express
14 consent as required by the TCPA.
15             5.     To make matters worse, Nations Info sends these solicitation text messages to

16 consumers who registered their phone numbers on the DNC registry for the specific purpose of
17 avoiding these types of unwanted marketing solicitations.
18             6.     To avoid suspicion of its illegal text message telemarketing, Nations Info has

19 created a series of different websites to solicit memberships while at the same time hiding its
20 identity in an attempt to shield itself of liability for violating the TCPA.
21             7.     In Plaintiff’s case, Nations Info sent at least two autodialed text messages to her

22 cellular phone without having her consent and despite the fact that Plaintiff had registered her
23 phone number on the DNC more than 30 days prior to receiving the text messages.
24             8.     In response to these text messages, Plaintiff files this class action lawsuit seeking

25 injunctive relief requiring Nations Info to cease sending unsolicited, autodialed text messages to
26
     2
27       http://www.nationsinfocorp.com/
                                           CLASS ACTION COMPLAINT
28                                                   -2-
          CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 3 of 18




 1 consumers’ cellular telephone numbers, and to other phone numbers registered on the DNC, as
 2 well as an award of statutory damages to the members of the Classes.

 3                                               PARTIES
 4          9.      Plaintiff Schultz is a resident of Zimmerman, Minnesota, which is located in
 5 Shurburne County.
 6          10.     Defendant Nations Info is a Goleta, California corporation. Nations Info does
 7 business throughout this District, the State of California, and throughout the United States.
 8                                   JURISDICTION AND VENUE
 9          11.     This Court has federal question subject matter jurisdiction over this action under
10 28 U.S.C. § 1331, as the action arises under the TCPA, which is a federal statute. The Court also
11 has jurisdiction under the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), et seq.
12 because there are over 100 members of the alleged classes, there is minimal diversity, and there
13 is over $5,000,000 at issue when the claims of the Class are aggregated. Further, none of the
14 exceptions to CAFA apply.
15          12.     This Court has personal jurisdiction over Defendant and venue is proper in this
16 District under 28 U.S.C. § 1391(b) because Defendant is incorporated in this State and maintains
17 its principal place of business in this District, and because the wrongful conduct giving rise to
18 this case emanated from Defendant from within this District.
19                                    COMMON ALLEGATIONS
20                 Nations Info Markets its Products by Placing, or Having Placed
                              On its Behalf Unsolicited Text Messages
21
            13.     Texts sent by or on behalf of Nations Info are solicitations for Nations Info’s rent-
22
     to-own membership services.
23
            14.     Nations Info’s rent-to-own pages, such as RentBeforeOwning.com, begin by
24
     offering consumers a search option to locate rent-to-own homes:
25
26
27
                                     CLASS ACTION COMPLAINT
28                                             -3-
           CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 4 of 18




 1
 2

 3
 4
 5
 6
                                                                                       3
 7
 8
            15.     Nations Info owns manages RentBeforeOwning.com. On the
 9
     RentBeforeOwning.com website, Henry Kim is referenced as the Affiliate Manager.4 Kim is the
10
     Chief Marketing Manager for Nations Info.5 Additionally, both RentBeforeOwning.com and
11
     Nations Info are located at the same physical address:
12
13
14
                                                                            6
15
16
17
18                                                                          7


19
            16.     When a consumer clicks on “Search Now”, from the main page on
20
     RentBeforeOwning.com, they then proceed to complete a series of survey questions regarding
21
     the type of property they would like to rent. The option is then presented for the consumer to
22
     save their profile and receive a “FREE Debt Relief Analysis”:
23
24
     3
25   https://www.rentbeforeowning.com/
     4
     https://www.rentbeforeowning.com/affiliates.html
   5
26 6 http://www.nationsinfocorp.com
     https://www.rentbeforeowning.com/contact-us.html
   7
27 https://www.linkedin.com/company/nations-info-corp/about/
                                     CLASS ACTION COMPLAINT
28                                             -4-
             CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 5 of 18




 1
 2

 3
 4                                                                                  8


 5
 6             17.    And when a consumer clicks on “View Homes”, they are given the option to sign-

 7 up for a 7-day membership trial:
 8
 9
10
11
12
13
14
15
16
17
18
                                                                                        9
19
20
               18.    As per the image above, the cost for the trial membership is $1. If the consumer
21
     does not cancel the membership within 7 days, they are charged $49.95 per month until the
22
     membership is cancelled.
23
               19.    The unsolicited text messages sent to Plaintiff Schultz and the members of the
24
     proposed classes advertised these same or similar membership subscription services.
25
26   8
         id
     9
27       https://www.rentbeforeowning.com/signup.html
                                       CLASS ACTION COMPLAINT
28                                               -5-
             CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 6 of 18



               Defendant Sends Text Messages Directly and/or Hires Affiliates to Send Text
 1             Messages Directing Consumers to Defendant’s Websites
 2             20.     Nations Info also operates an affiliate program that it advertises on its website
 3 landing pages for rent-to-own properties:
 4
 5
 6
 7                                                                                                         10

 8
 9             21.     The Federal Communication Commission (FCC) has provided instructions stating

10 that sellers such as Nations Info may not avoid liability under the TCPA simply by outsourcing
11 their telemarketing:
12             [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
               activities to unsupervised third parties would leave consumers in many cases
13             without an effective remedy for telemarketing intrusions. This would particularly
               be so if the telemarketers were judgment proof, unidentifiable, or located outside
14             the United States, as if often the case. Even where third-party telemarketers are
               identifiable, solvent, and amenable to judgment limiting liability to the telemarketer
15             that physically places the call would make enforcement in many cases substantially
               more expensive and less efficient, since consumers (or law enforcement agencies)
16             would be required to sue each marketer separately in order to obtain effective relief.
               As the FTC notes, because “[s]ellers may have thousands of ‘independent’
17             marketers, suing one or a few of them is unlikely to make a substantive difference
               for consumer privacy.”
18
               In re Joint Petition Filed by DISH Network, LLC et al. for Declatory Ruling
19             Concerning the TCPA Rules, 28 FCC Rcd. 6574, at ¶ 37 (201) (“FCC 2013
               Ruling”) (citations omitted).
20
               22.     In addition to the above statement from the FCC, Nations Info knowingly benefits
21
     from all of the marketing that is done on its behalf and has ratified any telemarketing.
22
                     Plaintiff Received Unsolicited Autodialed Text Messages to Her Cell
23                                      Phone Despite Being on the DNC List
24             23.     On March 25, 2017, Plaintiff Schultz registered her cellular phone number on the

25 DNC to avoid receiving unwanted phone and text solicitations.
26
     10
27        https://www.rentbeforeowning.com/contact-us.html
                                        CLASS ACTION COMPLAINT
28                                                -6-
             CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 7 of 18




 1             24.    Her cellular phone number is not currently associated with a business and is for
 2 personal use.

 3             25.    On February 21, 2019 at 3:30 PM, Schultz received an unsolicited autodialed text
 4 message from, or on behalf of, Defendant on her cellular phone from 402-922-9644:
 5
 6
 7
 8
 9
10
11
12
               26.    Clicking on dozzz.xyz/hhb7zb leads first to omgxuta.com, which is believed to be
13
     a link tracking service, which then reroutes to newhome.esa-us.com:
14
                                                                           11
15
               27.    At the newhome.esa-us.com domain, the consumer is provided with a short
16
     survey regarding rent-to-own properties. When the survey is completed, the consumer is routed
17
     directly to ViewForeclosureHomes.com.
18
     Connection #1 – Connecting ViewForeclosureHomes.com to Nations Info
19
               28.    The address in the privacy policy for ViewForeclosureHomes.com is:
20
21
22
                                                                                 12
23
24

25
26   11
          Screenshot from Charles, a link tracking program
     12
27        https://www.viewforeclosurehomes.com/privacy.php
                                       CLASS ACTION COMPLAINT
28                                               -7-
          CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 8 of 18




 1         29.     The PO Box address shown above is the same address used on the website
 2 ViewRentToOwnHomes.com. Both ViewForeclosureHomes.com and

 3 ViewRentToOwnHomes.com are website clones of each other, even using identical logos:
 4
 5
                                                                               13
 6
 7
 8
                                                                             14
 9
10         30.     Both sites also offer the identical membership program detailed above, with a 7-
11 day free trial, followed by a monthly membership cost.
12         31.     On the ViewRentToOwnHomes.com website, the contact page shows that the
13 contact email is support@yourrent2own.com.
14         32.     The website YourRent2Own.com refers to Nations Info’s affiliate program:
15
16
17
18
19
20
21
22
23
                                                                                                15
24

25
     13
26    https://www.viewrenttoownhomes.com/contact_us.php
     14
      https://www.viewforeclosurehomes.com/contact_us.php
   15
27    https://www.yourrent2own.com/contact-us.html
                                    CLASS ACTION COMPLAINT
28                                            -8-
           CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 9 of 18




 1          33.     Henry Kim, the affiliate manager referenced in the above image, is the Chief
 2 Marketing Officer for Nations Info:

 3
 4
 5
 6
 7
 8
 9
10
11
                                                                                             16
12
13 Connection #2 – Connecting ViewForeclosureHomes.com to Nations Info
14          34.     Another link showing that Nations Info is responsible for, or benefits from the

15 aforementioned text message that Plaintiff received is the Free Credit Score link. On the website
16 ViewForeclosureHomes.com, there is a link for a “FREE Credit Score”:
17                                                                                                    17

18
19          35.     Clicking on the “Free Credit Score” link brings up two websites, both of which

20 are clones of RentBeforeOwning.com, a website owned by Nations Info:
21
22
                                                                            18
23
24

25
     16
26    http://www.nationsinfocorp.com
     17
      https://www.viewforeclosurehomes.com/
   18
27    Screenshot from Charles, a link tracking program
                                      CLASS ACTION COMPLAINT
28                                              -9-
          CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 10 of 18




 1 As per the image above, the “Free Credit Score” link brings up UltraForeclosures.com and
 2 ForeclosureFortunes.net.

 3          36.    The Terms and Conditions for UltraForeclosures.com and
 4 Foreclosurefortunes.com both reference getting help regarding text messages by texting “HELP”
 5 to shortcode 96863:
 6
 7
 8
                                                                                  19
 9
10
11
                                                                                       20
12
13          37.    Shortcode 96863 is a shortcode owned and managed by Nations Info21 as is seen
14 on the website RentBeforeOwning.com:
15
16
17
                                                                             22

18
     Connection #3 – Connecting ViewForeclosureHomes.com to Nations Info
19
            38.    When a consumer clicks on “FREE Credit Score” on the
20
     ViewForeclosureHomes.com website, the consumer is forwarded to UltraForeclosures.com. As
21
     per the above, UltraForeclosures.com uses Shortcode 96863, which is owned by Nations Corp.,
22
23
24
     19
25    https://www.ultraforeclosures.com/terms-of-use.html
     20
      https://www.foreclosurefortunes.net/terms-of-use.html
   21
26    RentBeforeOwning.com is identified as being owned by Nations Info on
   http://www.nationsinfocorp.com/
   22
27    https://www.rentbeforeowning.com/terms-of-use.html
                                     CLASS ACTION COMPLAINT
28                                             -10-
             CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 11 of 18




 1 and UltraForeclosures.com is a clone website of RentBeforeOwning.com, a site owned and
 2 managed by Nations Corp.

 3
               39.     In addition, UltraForeclosures.com leads consumers with a direct link to
 4
     RealtyStore.com, another website owned/controlled by Nations Info:
 5
 6
 7
 8
 9
10
11
                                                                                                  23
12
13
14
15
16
17
18
19
20                                                                                                     24

21
22             40.     On March 24, 2019 at 10:00 AM, Schultz received a second autodialed text

23 message on her cellular phone from, or on behalf of, Nations Info, this time supposedly from the
24 phone number 833-869-4183:

25
26   23
          https://www.ultraforeclosures.com/foreclosure-links
     24
27        http://www.nationsinfocorp.com
                                          CLASS ACTION COMPLAINT
28                                                  -11-
             CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 12 of 18




 1
 2

 3
 4
 5
 6
 7
               41.     Clicking on furnished4clsdhomes.pw routes directly to https://eaze-
 8
     listings.com/img/?aff_id=10&source=ED-CVSeeps-1-4-5:
 9
10
11
12
                                                                            25
13
14
               42.     At the eaze-listings.com domain, the consumer is provided with a short survey
15
     regarding rent-to-own properties. When the survey is completed, the consumer is taken directly
16
     to ViewForeclosureHomes.com—just like the first text message.
17
               43.     Plaintiff has never had a relationship with Nations Info and has never provided
18
     Nations Info express written consent to contact her.
19
               44.     Plaintiff Schultz was not looking for a rental property or rent-to-own opportunity
20
     at the time she was called.
21
               45.     The unauthorized text messages sent by Nations Info, as alleged herein, have
22
     harmed Plaintiff in the form of annoyance, nuisance, and invasions of privacy. They have also
23
     disturbed Schultz’s use and enjoyment of her cellular phone, in addition to the wear and tear on
24
     the phones’ hardware (including the phones’ battery) and the consumption of memory on the
25
     phone. Text messages ring or vibrate alerting the phone user of their receipt. These messages
26
     25
27        Screenshot from Charles, a link tracking program
                                         CLASS ACTION COMPLAINT
28                                                 -12-
          CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 13 of 18




 1 interfere with and interrupt a user’s experience, resulting in further annoyance and invasions of
 2 privacy.

 3          46.     In addition, Defendant violated the DNC by sending 2 solicitation text messages
 4 within a 1-year period to Plaintiff’s phone number, which had been registered on the Do Not Call
 5 registry for at least 30 days.
 6          47.     Seeking redress for these injuries, Schultz, on behalf of herself and two Classes of
 7 similarly situated individuals, brings suit under the TCPA which prohibits unsolicited autodialed
 8 text messages to cellular telephones, including solicitation text messages to a phone number
 9 protected by the DNC.
10                                       CLASS ALLEGATIONS
11                   Class Treatment Is Appropriate for Plaintiff’s TCPA Claims
12          48.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)
13 and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks certification of
14 the following Classes:
15          Autodialed No Consent Class: All persons in the United States who from four
            years prior to the filing of this action through class certification (1) Defendant (or
16          an agent acting on behalf of Defendant) placed text message calls, (2) to the
            person’s cellular telephone number, (3) using the text messaging platform
17          Defendant used to place text message calls to Plaintiff, (4) for whom Defendant
            claims it obtained prior express consent in the same manner as Defendant claims it
18          supposedly obtained prior express consent to text message Plaintiff.
19          Do Not Call Registry Class: All persons in the United States who from four years
            prior to the filing of this action through class certification (1) Defendant (or an agent
20          acting on behalf of Defendant) texted more than one time; (2) within any 12-month
            period (3) where the person’s telephone number had been listed on the DNC for at
21          least thirty days; (4) for the same reason that Defendant texted Plaintiff; and (5) for
            whom Defendant claims it obtained prior express consent in the same manner as
22          Defendant claims it supposedly obtained prior express consent to text message
            Plaintiff.
23
            49.     The following individuals are excluded from the Classes: (1) any Judge or
24
     Magistrate presiding over this action and members of their families; (2) Defendant, its
25
     subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents
26
     have a controlling interest and their current or former employees, officers and directors; (3)
27
                                      CLASS ACTION COMPLAINT
28                                              -13-
          CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 14 of 18




 1 Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion
 2 from the Classes; (5) the legal representatives, successors or assigns of any such excluded

 3 persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated
 4 and/or released. Plaintiff anticipates the need to amend the Class definition following appropriate
 5 discovery.
 6          50.    Numerosity: On information and belief, there are hundreds if not thousands of
 7 members of the Classes such that joinder of all members is impracticable.
 8          51.    Commonality and Predominance: There are many questions of law and fact
 9 common to the claims of Plaintiff and the Classes, and those questions predominate over any
10 questions that may affect individual members of the Classes. Common questions for the Classes
11 include, but are not necessarily limited to the following:
12                 (a) whether Defendant used an automatic telephone dialing system to send text
                       messages to Plaintiff and the members of the Autodialed No Consent Class;
13
                   (b) whether Defendant sent unsolicited text messages to phone numbers
14
                       registered on the DNC;
15
                   (c) whether Defendant’s conduct constitutes a violation of the TCPA;
16
                   (d) whether Defendant’s system is an ATDS, and
17
                   (e) whether members of the Classes are entitled to treble damages based on the
18
                       willfulness of Defendant’s conduct.
19          52.    Adequate Representation: Plaintiff will fairly and adequately represent and
20 protect the interests of the Classes and has retained counsel competent and experienced in class
21 actions. Plaintiff has no interests antagonistic to those of the Classes, and Defendant has no
22 defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting
23 this action on behalf of the members of the Classes and have the financial resources to do so.
24 Neither Plaintiff nor her counsel has any interest adverse to the Classes.

25          53.    Appropriateness: This class action is also appropriate for certification because
26 Defendant has acted or refused to act on grounds generally applicable to the Classes and as a
27
                                     CLASS ACTION COMPLAINT
28                                             -14-
          CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 15 of 18




 1 whole thereby requiring the Court’s imposition of uniform relief to ensure compatible standards
 2 of conduct toward the members of the Classes and making final class-wide injunctive relief

 3 appropriate. Defendant’s business practices apply to and affect the members of the Classes
 4 uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with
 5 respect to the Classes, not on facts or law applicable only to Plaintiff. Additionally, the damages
 6 suffered by individual members of the Classes will likely be small relative to the burden and
 7 expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.
 8 Thus, it would be virtually impossible for the members of the Classes to obtain effective relief
 9 from Defendant’s misconduct on an individual basis. A class action provides the benefits of
10 single adjudication, economies of scale, and comprehensive supervision by a single court.
11                                    FIRST CAUSE OF ACTION
                                  Telephone Consumer Protection Act
12                               (Violations of 47 U.S.C. § 227, et. seq.)
                        (On Behalf of Plaintiff and the Autodial No Consent Class)
13
            54.       Plaintiff repeats and realleges paragraphs 1 through 52 of this Complaint and
14
     incorporates them by reference.
15
            55.       Defendant and/or its agents sent unwanted solicitation text messages to cellular
16
     telephone numbers belonging to Plaintiff and the other members of the Autodialed No Consent
17
     Class using an autodialer.
18
            56.       These solicitation text messages were sent en masse without the consent of the
19
     Plaintiff and the other members of the Autodialed No Consent Class to receive such solicitation
20
     text messages.
21
            57.       The text messages were sent using an automatic telephone dialing system
22
     (“ATDS”). Defendant used technology that had the capacity to randomly generate and store
23
     numbers and dial them from a pre-loaded list. The equipment shared characteristics of a
24
     predictive dialer and allowed for the sending of text messages en masse without sufficient human
25
     intervention. Further discovery is needed regarding Defendant’s system as only defendant
26
     possesses such information.
27
                                       CLASS ACTION COMPLAINT
28                                               -15-
          CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 16 of 18




 1          58.     Defendant failed to obtain prior express consent of any kind. There was no oral
 2 consent, and Defendant failed to obtain any written consent required under the TCPA or

 3 otherwise.
 4          59.     Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of
 5 Defendant’s conduct, Plaintiff and the other members of the Autodialed No Consent Class are
 6 each entitled to between $500 and $1,500 for each and every text message.
 7                                  SECOND CAUSE OF ACTION
                                 Telephone Consumer Protection Act
 8                               (Violation of 47 U.S.C. § 227, et. seq.)
                       (On Behalf of Plaintiff and the Do Not Call Registry Class)
 9
            60.     Plaintiff repeats and realleges the paragraphs 1 through 52 of this Complaint and
10
     incorporates them by reference.
11
            61.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o
12
     person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
13
     who has registered his or her telephone number on the national do-not-call registry of persons
14
     who do not wish to receive telephone solicitations that is maintained by the federal government.”
15
            62.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any
16
     person or entity making telephone solicitations or telemarketing calls to wireless telephone
17
     numbers.”26
18
            63.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate
19
     any call for telemarketing purposes to a residential telephone subscriber unless such person or
20
     entity has instituted procedures for maintaining a list of persons who request not to receive
21
     telemarketing calls made by or on behalf of that person or entity.”
22
            64.     Any “person who has received more than one telephone call within any 12-month
23
     period by or on behalf of the same entity in violation of the regulations prescribed under this
24
     subsection may” may bring a private action based on a violation of said regulations, which were
25
     26
26   Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No.
   02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
27 https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf
                                       CLASS ACTION COMPLAINT
28                                               -16-
         CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 17 of 18




 1 promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone
 2 solicitations to which they object. 47 U.S.C. § 227(c).

 3          65.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,
 4 telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry
 5 Class members who registered their respective telephone numbers on the National Do Not Call
 6 Registry, a listing of persons who do not wish to receive telephone solicitations that is
 7 maintained by the federal government, for at least 30 days.
 8          66.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call
 9 Registry Class received more than one phone call/text message in a 12-month period by or on
10 behalf of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of
11 Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered
12 actual damages and are entitled to between $500 an $1,500 per violation.
13                                        PRAYER FOR RELIEF
14          WHEREFORE, Plaintiff Nations Info, individually and on behalf of the Classes, prays
15 for the following relief:
16      a) An order certifying the Classes as defined above, and appointing Plaintiff as the
17          representative of the Classes and her attorneys as Class Counsel;
18      b) An award of actual and/or statutory damages and costs to be paid into a common fund for
19          the benefit of the Classes;
20      c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;
21      d) An injunction requiring Defendant to cease all unsolicited texting activity, and to
22          otherwise protect the interests of the Classes; and
23      e) Such further and other relief as the Court deems just and proper.
24

25                                          JURY DEMAND
26          Plaintiff Kelly Schultz requests a jury trial.
27
                                      CLASS ACTION COMPLAINT
28                                              -17-
        CASE 0:19-cv-02813-DWF-DTS Document 1 Filed 10/30/19 Page 18 of 18



                                      Respectfully Submitted,
 1
 2                                    KELLY SCHULTZ, individually and on behalf of
                                      those similarly situated individuals
 3
 4 Dated: October 27, 2019            By: /s/ Ryan Peterson
                                      Peterson Legal, PLLC
 5                                    5201 Eden Avenue, Suite 300
                                      Edina, Minnesota 55436
 6                                    ryan@peterson.legal
                                      Telephone: (612) 367-6568
 7                                    Facsimile: (612) 295-0415

 8                                    Steven L. Woodrow*
                                      swoodrow@woodrowpeluso.com
 9                                    Patrick H. Peluso*
                                      ppeluso@woodrowpeluso.com
10                                    Woodrow & Peluso, LLC
                                      3900 East Mexico Ave., Suite 300
11                                    Denver, Colorado 80210
                                      Telephone: (720) 213-0675
12                                    Facsimile: (303) 927-0809

13                                    Stefan Coleman*
                                      law@stefancoleman.com
14                                    LAW OFFICES OF STEFAN COLEMAN, P.A.
                                      201 S. Biscayne Blvd, 28th Floor
15                                    Miami, FL 33131
                                      Telephone: (877) 333-9427
16                                    Facsimile: (888) 498-8946

17                                    Attorneys for Plaintiff and the putative Classes

18                                    *Pro Hac Vice motion forthcoming

19
20
21
22
23
24

25
26
27
                             CLASS ACTION COMPLAINT
28                                     -18-
